 Fill in this information to identify your case and this filing:

 Debtor 1                   Marsena L. Tyronce
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse, if filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MICHIGAN

 Case number           19-41124                                                                                                                 Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1      Make:       Lincoln                                 Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      Towncare                                      Debtor 1 only                                Creditors Who Have Claims Secured by Property.
           Year:       2004                                          Debtor 2 only                                Current value of the      Current value of the
           Approximate mileage:               112000                 Debtor 1 and Debtor 2 only                   entire property?          portion you own?
           Other information:                                        At least one of the debtors and another


                                                                     Check if this is community property                   $3,500.00                    $3,500.00
                                                                     (see instructions)



  3.2      Make:       Ford                                    Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      Flex                                          Debtor 1 only                                Creditors Who Have Claims Secured by Property.
           Year:       2010                                          Debtor 2 only                                Current value of the      Current value of the
           Approximate mileage:               105000                 Debtor 1 and Debtor 2 only                   entire property?          portion you own?
           Other information:                                        At least one of the debtors and another


                                                                     Check if this is community property                   $5,500.00                    $5,500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes




Official Form 106A/B                                                         Schedule A/B: Property                                                           page 1
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                   19-41124-pjs             Doc 14            Filed 02/08/19                 Entered 02/08/19 15:38:26             Page 1 of 23
 Debtor 1       Marsena L. Tyronce                                                                                  Case number (if known)       19-41124

 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                $9,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                  Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Living and Dining room, bedroom, kitchen furniture & utensils.                                                               $2,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Clothing owned by the Debtor at the Debtor's Residence and in
                                    Debtor's possession.                                                                                                           $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Jewelry (various) at the Debtor's Residence.                                                                                 $1,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes. Give specific information.....
Official Form 106A/B                                                   Schedule A/B: Property                                                                          page 2
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                19-41124-pjs                Doc 14            Filed 02/08/19               Entered 02/08/19 15:38:26                            Page 2 of 23
 Debtor 1         Marsena L. Tyronce                                                                                                Case number (if known)    19-41124



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                    $3,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                     Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                       Cash on hand
                                                                                                                                       [estimate]                                 $10.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                          Checking/Savings;
                                                          Account(s)
                                              17.1.       [estimate]                              TCF Bank                                                                        $50.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

                                              401(k) [estimate]                                   State of Michigan                                                           $3,000.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
Official Form 106A/B                                                                       Schedule A/B: Property                                                                   page 3
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                  19-41124-pjs                         Doc 14                Filed 02/08/19                          Entered 02/08/19 15:38:26               Page 3 of 23
 Debtor 1        Marsena L. Tyronce                                                                      Case number (if known)      19-41124

        Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                            Surrender or refund
                                                                                                                                        value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
        Yes. Describe each claim.........

                                                      Cause of Action vs. former employer                                                            Unknown



Official Form 106A/B                                                 Schedule A/B: Property                                                                page 4
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                19-41124-pjs                Doc 14            Filed 02/08/19        Entered 02/08/19 15:38:26                     Page 4 of 23
 Debtor 1         Marsena L. Tyronce                                                                                                    Case number (if known)    19-41124
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                  $3,060.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                          $0.00
 56. Part 2: Total vehicles, line 5                                                                             $9,000.00
 57. Part 3: Total personal and household items, line 15                                                        $3,500.00
 58. Part 4: Total financial assets, line 36                                                                    $3,060.00
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $15,560.00              Copy personal property total              $15,560.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                            $15,560.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 5
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                  19-41124-pjs                     Doc 14              Filed 02/08/19                     Entered 02/08/19 15:38:26                              Page 5 of 23
 Fill in this information to identify your case:

 Debtor 1                 Marsena L. Tyronce
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF MICHIGAN

 Case number           19-41124
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2004 Lincoln Towncare 112000 miles                              $3,500.00                                       $0.00    11 U.S.C. § 522(d)(2)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Living and Dining room, bedroom,                                $2,000.00                                  $2,000.00     11 U.S.C. § 522(d)(3)
      kitchen furniture & utensils.
      Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Clothing owned by the Debtor at the                                 $500.00                                  $500.00     11 U.S.C. § 522(d)(3)
      Debtor's Residence and in Debtor's
      possession.                                                                          100% of fair market value, up to
      Line from Schedule A/B: 11.1                                                         any applicable statutory limit

      Jewelry (various) at the Debtor's                               $1,000.00                                  $1,000.00     11 U.S.C. § 522(d)(4)
      Residence.
      Line from Schedule A/B: 12.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit

      Cash on hand [estimate]                                              $10.00                                   $10.00     11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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                   19-41124-pjs             Doc 14            Filed 02/08/19           Entered 02/08/19 15:38:26                    Page 6 of 23
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Checking/Savings; Account(s)                                         $50.00                                    $50.00     11 U.S.C. § 522(d)(5)
     [estimate]: TCF Bank
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k) [estimate]: State of Michigan                             $3,000.00                                  $3,000.00     11 U.S.C. § 522(d)(12)
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cause of Action vs. former employer                              Unknown                                  $13,000.00      11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 33.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cause of Action vs. former employer                              Unknown                                         $0.00    11 U.S.C. § 522(d)(11)(D)
     Line from Schedule A/B: 33.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 2 of 2
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                19-41124-pjs                Doc 14            Filed 02/08/19           Entered 02/08/19 15:38:26                    Page 7 of 23
 Fill in this information to identify your case:

 Debtor 1                   Marsena L. Tyronce
                            First Name                        Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                        Middle Name                      Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF MICHIGAN

 Case number           19-41124
 (if known)                                                                                                                                        Check if this is an
                                                                                                                                                   amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                             Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As    Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                   Do not deduct the      that supports this      portion
                                                                                                             value of collateral.   claim                   If any
 2.1     CPS                                        Describe the property that secures the claim:                  $9,383.00                $3,500.00           $5,883.00
         Creditor's Name                            2004 Lincoln Towncare 112000
                                                    miles
                                                    As of the date you file, the claim is: Check all that
         PO Box 57071                               apply.
         Irvine, CA 92619-7071                          Contingent
         Number, Street, City, State & Zip Code         Unliquidated
                                                        Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
     Debtor 1 only                                      An agreement you made (such as mortgage or secured
     Debtor 2 only                                       car loan)
       Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another            Judgment lien from a lawsuit
       Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred          04/12/2012                  Last 4 digits of account number        1300

 2.2     GM Financial                               Describe the property that secures the claim:                $21,158.00                 $5,500.00          $15,658.00
         Creditor's Name                            2010 Ford Flex 105000 miles

                                                    As of the date you file, the claim is: Check all that
         PO Box 183834                              apply.
         Arlington, TX 76096                            Contingent
         Number, Street, City, State & Zip Code         Unliquidated
                                                        Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
     Debtor 1 only                                      An agreement you made (such as mortgage or secured
     Debtor 2 only                                       car loan)
       Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another            Judgment lien from a lawsuit
       Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred          2/2014                      Last 4 digits of account number



Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
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                   19-41124-pjs                   Doc 14        Filed 02/08/19                Entered 02/08/19 15:38:26                     Page 8 of 23
 Debtor 1 Marsena L. Tyronce                                                                     Case number (if known)        19-41124
              First Name                Middle Name                  Last Name




   Add the dollar value of your entries in Column A on this page. Write that number here:                         $30,541.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                        $30,541.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 2
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                19-41124-pjs                Doc 14            Filed 02/08/19        Entered 02/08/19 15:38:26                        Page 9 of 23
 Fill in this information to identify your case:

 Debtor 1                   Marsena L. Tyronce
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF MICHIGAN

 Case number            19-41124
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          Approved Cash Advance                                   Last 4 digits of account number         4755                                                           $676.45
              Nonpriority Creditor's Name
              1915 E. Michigan Ave.                                   When was the debt incurred?             02/2016
              Jackson, MI 49202
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                           Contingent
                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify   payday loan




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 7
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                  19-41124-pjs               Doc 14           Filed 02/08/19                Entered 02/08/19 15:38:26                             Page 10 of 23
 Debtor 1 Marsena L. Tyronce                                                                             Case number (if known)         19-41124

 4.2      Associates FNCL Solutions                                  Last 4 digits of account number       AFS9                                                 $64.00
          Nonpriority Creditor's Name
          PO Box 39                                                  When was the debt incurred?           09/11/2015
          Pleasant Lake, MI 49272
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit services


 4.3      Comenity Bank 9Maurices)                                   Last 4 digits of account number       4887                                               $338.00
          Nonpriority Creditor's Name
          PO Box 182789                                              When was the debt incurred?           03/26/2015
          Columbus, OH 43218-2125
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit services


 4.4      Consumer Energy                                            Last 4 digits of account number       6044                                             $1,638.28
          Nonpriority Creditor's Name
          530 W. Willow                                              When was the debt incurred?           2016
          Box 30162
          Lansing, MI 48909
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utility




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 7
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              19-41124-pjs                 Doc 14            Filed 02/08/19               Entered 02/08/19 15:38:26                         Page 11 of 23
 Debtor 1 Marsena L. Tyronce                                                                             Case number (if known)         19-41124

 4.5      Michigan Guaranty Agency                                   Last 4 digits of account number       3238                                             $1,855.00
          Nonpriority Creditor's Name
          P.O. Box 30047                                             When was the debt incurred?           06/21/2013
          Lansing, MI 48909-7547
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.6      Navient                                                    Last 4 digits of account number       1031                                             $2,250.00
          Nonpriority Creditor's Name
          Department of Education                                    When was the debt incurred?           06/09/2009
          Loan Servicing
          P.O. Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student loan
 4.7      Navient                                                    Last 4 digits of account number       1031                                               $795.00
          Nonpriority Creditor's Name
          Department of Education                                    When was the debt incurred?           06/09/2009
          Loan Servicing
          P.O. Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 7
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              19-41124-pjs                 Doc 14            Filed 02/08/19               Entered 02/08/19 15:38:26                         Page 12 of 23
 Debtor 1 Marsena L. Tyronce                                                                             Case number (if known)         19-41124

 4.8      Navient                                                    Last 4 digits of account number       1E00                                             $4,500.00
          Nonpriority Creditor's Name
          Department of Education                                    When was the debt incurred?           09/28/2010
          Loan Servicing
          P.O. Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.9      Navient                                                    Last 4 digits of account number       1E00                                               $815.00
          Nonpriority Creditor's Name
          Department of Education                                    When was the debt incurred?           09/28/2010
          Loan Servicing
          P.O. Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.1
 0        Navient                                                    Last 4 digits of account number       1E00                                             $1,640.00
          Nonpriority Creditor's Name
          Department of Education                                    When was the debt incurred?           03/03/2010
          Loan Servicing
          P.O. Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 7
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              19-41124-pjs                 Doc 14            Filed 02/08/19               Entered 02/08/19 15:38:26                         Page 13 of 23
 Debtor 1 Marsena L. Tyronce                                                                             Case number (if known)         19-41124

 4.1
 1        Navient                                                    Last 4 digits of account number       1E00                                             $1,944.00
          Nonpriority Creditor's Name
          Department of Education                                    When was the debt incurred?           03/03/2010
          Loan Servicing
          P.O. Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.1
 2        Navient                                                    Last 4 digits of account number       1E00                                             $1,458.00
          Nonpriority Creditor's Name
          Department of Education                                    When was the debt incurred?           06/08/2010
          Loan Servicing
          P.O. Box 9635
          Wilkes Barre, PA 18773-9635
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.1
 3        Nelnet                                                     Last 4 digits of account number       3428                                               $649.00
          Nonpriority Creditor's Name
          3015 S. Parker Rd. Ste. 400                                When was the debt incurred?           06/08/2004
          Aurora, CO 80014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 7
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              19-41124-pjs                 Doc 14            Filed 02/08/19               Entered 02/08/19 15:38:26                         Page 14 of 23
 Debtor 1 Marsena L. Tyronce                                                                             Case number (if known)         19-41124

 4.1
 4         Nelnet                                                    Last 4 digits of account number       3428                                               $351.00
           Nonpriority Creditor's Name
           P.O. Box 2970                                             When was the debt incurred?           06/08/2004
           Omaha, NE 68103
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student Loan
 4.1
 5         Patricia Vance                                            Last 4 digits of account number                                                        $8,000.00
           Nonpriority Creditor's Name
           510 5th Street                                            When was the debt incurred?           2013
           Jackson, MI 49203
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal loan


 4.1
 6         Professional Bus Bur                                      Last 4 digits of account number       0030                                               $475.00
           Nonpriority Creditor's Name
           821 Greenwood Avenue                                      When was the debt incurred?           06/29/2010
           Jackson, MI 49203
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit services

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 7
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              19-41124-pjs                 Doc 14            Filed 02/08/19               Entered 02/08/19 15:38:26                         Page 15 of 23
 Debtor 1 Marsena L. Tyronce                                                                            Case number (if known)    19-41124

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                       0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                        6b.      $                       0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                       0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                       0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                       0.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                16,257.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                       0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                       0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $                11,191.73

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $                27,448.73




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 7 of 7
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              19-41124-pjs                 Doc 14            Filed 02/08/19             Entered 02/08/19 15:38:26                        Page 16 of 23
 Fill in this information to identify your case:

 Debtor 1                  Marsena L. Tyronce
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF MICHIGAN

 Case number           19-41124
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Rent A Center                                                              Lease for furniture, washer & dryer, etc...
               3029 E. Michigan Ave.                                                      $200.00 bi-weekly
               Jackson, MI 49202-3847




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                  19-41124-pjs               Doc 14            Filed 02/08/19      Entered 02/08/19 15:38:26                     Page 17 of 23
 Fill in this information to identify your case:

 Debtor 1                   Marsena L. Tyronce
                            First Name                           Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF MICHIGAN

 Case number           19-41124
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Larry Tyrone                                                                         Schedule D, line   2.1
                612 N State Street                                                                   Schedule E/F, line
                Jackson, MI 49202
                                                                                                     Schedule G
                                                                                                   CPS



    3.2         Larry Tyrone                                                                         Schedule D, line   2.2
                612 N State St.                                                                      Schedule E/F, line
                Jackson, MI 49202
                                                                                                     Schedule G
                                                                                                   GM Financial




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 1
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                  19-41124-pjs                 Doc 14             Filed 02/08/19   Entered 02/08/19 15:38:26            Page 18 of 23
Fill in this information to identify your case:

Debtor 1                      Marsena L. Tyronce

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF MICHIGAN

Case number               19-41124                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status*
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation            NA
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Henry Ford Health System

       Occupation may include student        Employer's address
                                                                   One Ford Place
       or homemaker, if it applies.
                                                                   Detroit, MI 48202

                                             How long employed there?         3 months
                                                                              *See Attachment for Additional Employment Information

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         3,873.29        $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      3,873.29               $      N/A




Official Form 106I
                 19-41124-pjs           Doc 14      Filed 02/08/19Schedule I: Your Income
                                                                      Entered      02/08/19 15:38:26                        Page 19 of 23        page 1
Debtor 1    Marsena L. Tyronce                                                                    Case number (if known)    19-41124


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      3,873.29       $             N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $        512.94       $               N/A
      5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00       $               N/A
      5c.   Voluntary contributions for retirement plans                                   5c.        $        115.74       $               N/A
      5d.   Required repayments of retirement fund loans                                   5d.        $          0.00       $               N/A
      5e.   Insurance                                                                      5e.        $        338.00       $               N/A
      5f.   Domestic support obligations                                                   5f.        $          0.00       $               N/A
      5g.   Union dues                                                                     5g.        $          0.00       $               N/A
      5h.   Other deductions. Specify:                                                     5h.+       $          0.00 +     $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            966.68       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,906.61       $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $               N/A
      8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
      8e. Social Security                                                                  8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                   N/A
      8g. Pension or retirement income                                                     8g. $                 0.00   $                   N/A
      8h. Other monthly income. Specify: 2nd job                                           8h.+ $              305.00 + $                   N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            305.00       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              3,211.61 + $           N/A = $          3,211.61
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $         3,211.61
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I
            19-41124-pjs             Doc 14      Filed 02/08/19Schedule I: Your Income
                                                                   Entered      02/08/19 15:38:26                           Page 20 of 23          page 2
Debtor 1   Marsena L. Tyronce                                             Case number (if known)   19-41124


                                                 Official Form B 6I
                                 Attachment for Additional Employment Information

Debtor
Occupation            CNA
Name of Employer      Tri County Nurses Plus
How long employed     5 mo
Address of Employer   20600 Eureka Rd Suite 710,
                      Taylor, MI 48180




Official Form 106I
            19-41124-pjs        Doc 14   Filed 02/08/19Schedule I: Your Income
                                                           Entered      02/08/19 15:38:26          Page 21 of 23   page 3
Fill in this information to identify your case:

Debtor 1                 Marsena L. Tyronce                                                                Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                             A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF MICHIGAN                                               MM / DD / YYYY

Case number           19-41124
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  11                   Yes
                                                                                                                                             No
                                                                                   Son                                  17                   Yes
                                                                                                                                             No
                                                                                   Daughter                             18                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,000.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                 0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
           19-41124-pjs               Doc 14         Filed 02/08/19                Entered 02/08/19 15:38:26                     Page 22 of 23
Debtor 1     Marsena L. Tyronce                                                                        Case number (if known)      19-41124

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 247.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  80.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 269.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                600.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                100.00
10.   Personal care products and services                                                    10. $                                                  50.00
11.   Medical and dental expenses                                                            11. $                                                  10.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 225.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  186.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       2,767.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       2,767.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,211.61
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,767.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 444.61

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
           19-41124-pjs              Doc 14          Filed 02/08/19              Entered 02/08/19 15:38:26                         Page 23 of 23
